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                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF PUERTO RICO


  In re:
                                                                         PROMESA
  THE FINANCIAL OVERSIGHT AND                                            Title III
  MANAGEMENT BOARD FOR PUERTO RICO,
                                                                         No. 17 BK 3283-LTS
                        as representative of                             (Jointly Administered)

  THE COMMONWEALTH OF PUERTO RICO, THE
  EMPLOYEES RETIREMENT SYSTEM OF THE
  GOVERNMENT OF THE COMMONWEALTH OF
  PUERTO RICO, AND THE PUERTO RICO PUBLIC
  BUILDINGS AUTHORITY,

                                                 Debtors. 1


      ORDER GRANTING URGENT MOTION OF AMBAC ASSURANCE CORPORATION
        FOR LEAVE TO FILE SUPPLEMENTAL OBJECTION TO THE DISCLOSURE
            STATEMENT FOR THE THIRD AMENDED TITLE III JOINT PLAN
         OF ADJUSTMENT OF THE COMMONWEALTH OF PUERTO RICO, ET AL.

                   Upon consideration of the Urgent Motion of Ambac Assurance Corporation for

  Leave to File Supplemental Objection to the Disclosure Statement for the Third Amended Title III

  Joint Plan of Adjustment of the Commonwealth of Puerto Rico, et al. (Docket Entry No. 17129,

  the “Urgent Motion”); 2 and the Court having subject matter jurisdiction to consider the Urgent


  1        The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number and
           the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are the (i)
           Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17-BK-3283-LTS)
           (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing Corporation
           (“COFINA”) (Bankruptcy Case No. 17-BK 3284-LTS) (Last Four Digits of Federal Tax ID: 8474);
           (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy Case No. 17-BK-
           3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees Retirement System of the
           Government of the Commonwealth of Puerto Rico (“ERS”) (Bankruptcy Case No. 17-BK-3566-
           LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto Rico Electric Power Authority
           (“PREPA”) (Bankruptcy Case No. 17- BK-4780-LTS) (Last Four Digits of Federal Tax ID: 3747);
           and (vi) Puerto Rico Public Buildings Authority (“PBA”) (Bankruptcy Case No. 19-BK-5233-LTS)
           (Last Four Digits of Federal Tax ID: 3801) (Title III case numbers are listed as Bankruptcy Case
           numbers due to software limitations).
  2        Capitalized terms not defined herein have the meanings ascribed in the Urgent Motion.


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  Motion and the relief requested therein under 28 U.S.C. § 1331 and PROMESA § 306(a), 48

  U.S.C. § 2166(a); and it appearing that venue in this district is proper under 28 U.S.C. § 1391(b)

  and PROMESA § 307(a), 48 U.S.C. § 2167(a); and due and proper notice of the Urgent Motion

  having been provided and it appearing that no other or further notice need be provided; and the

  Court having determined that the legal and factual bases set forth in the Urgent Motion establish

  just cause for the relief requested therein, the Court hereby ALLOWS the Urgent Motion and

  ORDERS THAT:

         1.      The Urgent Motion is GRANTED as set forth herein.

         2.      Ambac is permitted to file a supplemental objection to the Disclosure Statement

  (the “Supplemental Objection”) not to exceed five (5) pages, exclusive of the cover page, the

  signature page, and the certificate of service.

         3.      The Supplemental Objection must be filed by Friday, June 25, 2021, at 12:00 pm

  AST.

         4.      The terms and conditions of this Order shall be immediately effective and

  enforceable upon its entry.

         5.      The Court shall retain jurisdiction to hear and determine all matters arising from or

  relating to the implementation, interpretation, or enforcement of this Order.

         6.      This Order resolves Docket Entry No. 17129 in Case No. 17-3283.




   Dated: June 22, 2021
                                                    /s/ Laura Taylor Swain
                                                    Laura Taylor Swain
                                                    United States District Court Judge




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